        Case 3:04-cv-03002-HA     Document 24     Filed 08/02/04   Page 1 of 1




                          UNITED STATES DISTRICT COURT
                               DISTRICT OF OREGON
                                 Office of the Clerk
                           740 UNITED STATES COURTHOUSE
                 1000 SW THIRD AVENUE PORTLAND, OREGON 97204-2902
                                    (503) 326-8008

DONALD M. CINNAMOND                                                CAMILE HICKMAN
Clerk of Court                                                     Chief Deputy Clerk




                                        August 2, 2004


Multnomah County Circuit Court
Attn: Sue D Room 210
1021 SW 4th Ave
Portland, OR 97204

Dear Sue D.:

      Subject: Remand of Civil Case No. 04cv3002 HA
               State of Oregon, ex rel Hardy Myers v. Portland General Electric

   Pursuant to this Court's order of 08/02/04 remanding the above referenced case to
your court, we are transmitting a certified copy of the order remanding and a certified
copy of the docket entries. Please acknowledge receipt on the enclosed copy of this
letter and return. Thank you for your cooperation.

                                 Sincerely,

                                 DONALD M. CINNAMOND, CLERK

                                 /s/Patricia Hunt
                                 Patricia Hunt, Deputy Clerk

Enclosure
cc:   Counsel of Record
      File

      RECEIPT IS ACKNOWLEDGED FOR THE DOCUMENTS DESCRIBED HEREIN

Date of Receipt:
By:____________________________
